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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF DELAWARE


 Marc Ganow,                                     Civil Action No. 1:17-cv-01486-UNA

                          Plaintiff,

                                                 NOTICE OF DISMISSAL AS TO
           – against–                            DEFENDANT BARCLAYS BANK
                                                 DELAWARE ONLY


 Barclays Bank Delaware and Trans Union,
 LLC,

                          Defendant(s).


       PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure 41(a)(1),

Plaintiff, through his attorneys, Garibian Law Offices, P.C., hereby dismisses Defendant

Barclays Bank Delaware only from this action without prejudice. This dismissal has no effect on

the other Defendants.


Dated: April 17, 2018

                                                    Garibian Law Offices, P.C.

                                                    By: /s/ Antranig Garibian
                                                    Antranig Garibian, Esquire (Bar No. 4962)
                                                    1010 N. Bancroft Parkway, Suite 22
                                                    Wilmington, DE 19805
                                                    (302) 722-6885
                                                    ag@garibianlaw.com
                                                    Counsel for Plaintiff
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                               CERTIFICATE OF SERVICE

              I, Antranig Garibian, Esq., hereby certify that a copy of the Notice of Voluntary
      Dismissal Without Prejudice as to Defendant Barclays Bank Delaware has been filed
      electronically. Notice of this filing will be sent to all parties by operation of the Court’s
      electronic filing system. Parties may access this filing through the Court’s electronic
      filing.



                                    Respectfully submitted,

                                    s/ Antranig N. Garibian____
                                    Antranig Garibian, Esq. (Bar No. 4962)
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